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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TAMARA JEAN FARRELL-SHANLEY,
       Plaintiff,
                        v.                                  Civil Action No.
BURLINGTON COAT FACTORY                                    1:21-cv-00986-SDG
WAREHOUSE CORPORATION, ET AL,
       Defendants.

                                     ORDER
      Plaintiff has filed a Notice of Settlement [ECF 18], informing the Court that

the parties have reached a settlement and will present dismissal documents once

the paperwork has been finalized. Therefore, the Clerk is DIRECTED to

ADMINISTRATIVELY CLOSE this case. This closure is not a dismissal and does

not preclude the filing of documents. The case may be re-opened if necessary. The

parties are ORDERED to file documents to dispose of the case within 60 days of

the date of this Order. Absent an extension of that deadline or further order of the

Court, if no request to reopen the case is made within 60 days, the case will be

considered DISMISSED WITH PREJUDICE at that time.

      Signed this the 21st day of May 2021.



                                                     Steven D. Grimberg
                                               United States District Court Judge
